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  EXHIBIT F
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                                                                   Effectiveness




                       Generally Concerning
              B Y M A N D Y S M I T H B E R G E R | F I L E D U N D E R I N V E S T I G AT I O N | A U G U S T 0 2 , 2 0 1 7


                                                              5 MINUTE READ




            Documents obtained by the Project On Government Oversight name seven
            retired Marine Corps officers—including the Secretary of Defense and the
            President’s new Chief of Staff—who sought and obtained permission from the
            Marine Corps to be paid to work on behalf of foreign governments and
            companies after they retired. POGO acquired the documents through a
            Freedom of Information Act (FOIA) request.

            Under current law, any retired or reserve members of the military wishing to
            work for a foreign government or receive emoluments (a salary or payments)
            from one must obtain approval from the Secretary of their military service and
            from the Secretary of State. A FOIA request for the names of any officers who
            were granted approval from January 2000 to April 2017 showed Secretary of


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            Defense James Mattis, White House Chief of Staff John Kelly, former National
            Security Advisor to President Obama retired General James L. Jones, and
            former Marine Corps Commandant General James Amos all sought and
            received permission.

            High-ranking military officers are regularly called by the Department and
            Congress to provide advice on national security issues with the assumption
            that their sole loyalty is to the interests of the United States. It should be clear
            to policymakers and the public if their advice may be influenced because they
            are receiving money from or have previous professional relationships with
            foreign governments.

            “These individuals are trading on the special trust and confidence bestowed
            upon them by the American people for their own personal gain,” Jack
            Shanahan Fellow Dan Grazier, a former Marine Corps captain, said.

            POGO is still waiting for responses to similar requests from the Army, Air Force,
            Navy, and State Department.



            Inconsistent Disclosure by Trump Administration
            Officials




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            Before he joined the Trump administration, Secretary of Defense Mattis worked as a military
            advisor to the United Arab Emirates (UAE). (Photo: U.S. Embassy & Consulate in the United Arab
            Emirates)


            The document provided by the Marine Corps shows Secretary Mattis asked for
            permission to work as a military advisor to the United Arab Emirates in 2015.
            Mattis’s last position in government was as the commander of Central
            Command (CENTCOM) from 2010 to 2013, which included the United Arab
            Emirates (UAE) in his area of responsibility (AOR). Mattis did not list this
            employment in his public financial disclosure form.

            Director of Defense Press Operations Captain Jeff Davis said that because
            Secretary Mattis did not receive compensation—other than reimbursement for
            travel expenses—he didn’t think that work needed to be included on his ethics
            disclosure. Davis told CNN the Office of Government Ethics told Mattis did not
            need to disclose the information. Mattis did list other uncompensated
            positions, including the U.S. Naval Institute and Center for a New American
            Security. Davis said that even though the Secretary didn’t report this
            relationship to the Office of Government Ethics he did tell the Senate Armed
            Services Committee and included the information in his security clearance
            review. The Committee would not confirm or deny what information it received
            regarding this employment to POGO.

            The Marine Corps regularly collaborates with the UAE for training. Even
            before seeking permission to be an advisor to the country, Mattis spoke
            positively of the country’s military capabilities, referring to them as “great
            warriors” and “Little Sparta” to The Washington Post in 2014. The UAE
            similarly admires the Marine Corps, participating in a number of exchanges and
            requesting formal training programs from the Corps.

            Secretary Mattis’s previously undisclosed relationship with the UAE could also
            add a new dimension to recent controversies surrounding the UAE’s role in
            convincing President Trump to support a blockade on Qatar.


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            New White House Chief of Staff and former Homeland Security Secretary Kelly
            worked as a senior course mentor for the 2016 Australian Defense Force Joint
            Task Force Commanders Course before joining the current administration. But
            unlike Mattis, Kelly disclosed it in his financial disclosure forms. In his ethics
            agreement Kelly said he would “not participate personally and substantially in
            any particular matter involving specific parties in which Australia, is a party or
            represents a party,” until he received his full payment unless otherwise
            authorized.



            Officers Joining Companies Receiving Foreign
            Government Money

            Other retired officers working for foreign governments are not currently in
            government, and do not have obligations for public disclosure under current
            laws. A number of officers accepted positions in companies receiving funding
            from countries in the Middle East. After he left government former Obama
            National Security Advisor James L. Jones worked as an independent security
            consultant with Ironhand Security, LLC, who he claimed had a pending contract
            with the Minister of Defense for the Kingdom of Saudi Arabia. Retired Major
            General Arnold Punaro, who sits on the Defense Business Board, also received
            permission to be an independent security consultant with the company. Even
            though the Defense Business Board provides the Department advice—including
            the infamous proposal to cut spending by $125 billion over five years—there
            are no financial disclosure requirements for board members or prohibitions on
            them receiving money from foreign governments. Retired Major General
            Thomas L. Moore became a Senior Consultant for Stark Aerospace Business
            Development in Israel after he was Chief of Staff and Acting Deputy
            Commander of CENTCOM.

            The disclosures also show several retired officers working for Asian companies.
            Former Marine Corps Commandant James Amos received permission to join the
            board of VT Systems Inc, an engineering firm that is a subsidiary of Singapore

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            Technologies Engineering and has offices in the UAE and Brazil. Retired
            Brigadier General Ronald F. Baczkowski, who was the deputy commander of
            Marine Corps Forces, Pacific, received permission to be the North American
            Business Development Director for Singapore Technologies Kinetics.



            Insufficient Disclosure of Foreign Influence

            The documents provided to POGO show other officers who received permission
            but whose names were redacted under a “b6” exemption, which prohibits
            disclosure of personal information “when an individual’s privacy interest in it
            outweighs any public interest.” When the public interest outweighs those
            privacy concerns, agencies can release the information. POGO plans to appeal
            the redactions.

            Current laws require public disclosure for foreign lobbying but are less
            transparent when it comes to other forms of foreign influence. Under the
            Foreign Agents Registration Act (FARA) anyone who lobbies on behalf of
            foreign governments and political parties must register their activities with the
            Department of Justice and submit regular documentation describing their
            activities. As POGO Investigator Lydia Dennett recently detailed in written
            testimony for the Senate Judiciary Committee, that law has a number of
            weaknesses and enforcement problems that undermine the law’s goal of
            shining a light on how foreign governments attempt to influence US policies.
            But it is a significantly more public tool than the current system for monitoring
            how retired and reserve military officers work for foreign governments.

            As Congress investigates and evaluates the sufficiency of current foreign
            influence transparency laws, they may also want to look into making whether
            others who receive money from or work for foreign governments should make
            that information publicly available.




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